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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                             CASE NO.l5-l0017-CR-M ARTlNEZ

 UNITED STATES OF AM ERICA

         Plaintiff,
 VS.


 EUSTAQUIO SALAZAR VIVAS,
         Defendant.
                                    /

        O R D ER AD O PTIN G M A G ISTR AT E'S REPO R T A N D RE C O M M END A TIO N

        THIS CAUSE came beforetheCourtupon theOrderofReferencefrom theDistrict

 Courtto conductaChange ofPleabeforeaM agistrateJudge.

        THE M ATTER wasreferred to M agistrateJudgeLurana S.Snow,on M arch 16,2016.

 A ReportandRecommendation wasfiledonApril12,2016,(ECFNo.51J,recommendingthat
 the D efendant's plea ofguilty be accepted.The partiesw ere afforded the opportunity to file

 objectionstotheReportandRecommendation,howevernonewerefiled.TheCourthas
 reviewedtheentirefleandrecordandnotesthatno objectionshavebeen filed.Aftercareful
 consideration,theCourtaffirm sand adoptsthe Reportand Recom mendation. Accordingly,itis

 hereby:

        ORDERED AND ADJUDGED thattheReportandRecommendation(ECF No.51)of
 United StatesM agistrate JudgeLuranaS.Snow,ishereby AFFIRM ED and ADOPTED in its

 entirety.

        TheDefendantisadjudgedguiltytoCount1ofthelndictmentwhichchargeshim with
 with conspiracy to possesswith intentto distribute 5kilogramsorm oreofcocaine,in violation

 of46U.S.C.j705064a)and 21U.S.C.9960(b).
        DONEANDORDEREDinChambersatMiami,Florida,thisV dayofMay,2016.

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     Copied:Hon.M agistrate Snow
,    Al1CounselOfRecord
     U .S.Probation O ffice




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